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September 26, 2024

VIA ECF AND E-MAIL

Hon. Analisa Torres

United States District Judge
Southern District of New York
500 Pearl Street

New York, New York 10007

Torres NYSDChambers@nysd.uscourts. gov.
Re: = Ismailov, et al. v. Hutseriev, et al., No. 24-cv-03287 (AT) (S.D.N-Y.)

Dear Judge Torres:

Pursuant to Rules I.A-C of the Court’s Individual Practices in Civil Cases (the “Individual
Rules”), all Parties in the above-referenced matter write jointly to request the following two
modifications to the September 23, 2024 Scheduling Order (ECF No. 73) (the “Scheduling
Order”):

1. A 14-day extension of the deadline for the Sberbank Defendants and Hutseriev to
file their respective reply briefs in support of the following three motions: (1) the
Sberbank Defendants’ motion to dismiss (ECF No. 50); (2) the Sberbank
Defendants’ motion for sanctions (ECF No. 68); and (3) Hutseriev’s forthcoming
motion to dismiss (due October 18, 2024) (the “Moving Briefs”); and

il. An expansion of Plaintiffs’ consolidated opposition to the Moving Briefs from 45
pages to 60 pages.

In support of that request for extension of time, and in accordance with Rule LC of the
Individual Rules, the Parties set forth that: (1) the current date for Defendants to file their reply
briefs is December 10, 2024 and the new proposed date is December 24, 2024; (2) the Parties
believe that their requests are in the interest of judicial economy and justice; (3) there have been
no previous requests for an adjournment or extension of the Scheduling Order; and (4) all of the
Parties consent to the requested relief.

GRANTED.
SO ORDERED. CA-
Dated: September 27, 2024 ANALISA TORRES

New York, New York United States District Judge
